Case 2:21-cr-00478-KSH Document 90 Filed 06/15/21 Page 1 of 11 PageID: 89




                                      U.S. Department of Justice

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                                     District ofNew Jersey


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                                                         September 16, 2020
 WA EMAIL
 Mr. Julian Wilsey, Esq.
 Franzblau Dratch, PC
 354 Eisenhower Parkway
 P0 Box 472
 Livingston, NJ 07039
 wilseynjcounsel.com

             Re: Plea Agreement with Alexis Hemandez-Reynoso

 Dear Mr. Wilsey:
             This letter sets forth the plea agreement between your client, Alexis
Hernandez-Reynoso rHernandez-Rewoso”), and the United States Attorney for
the District of New Jersey (“this Office”). The government’s offer to enter into
this plea agreement will expire on October 13, 2020 if it is not accepted in
writing by that date.

Charge

              Conditioned on the understandings specified below, this Office will
 accept a guilty plea from Hemandez-Reynoso to a one-count Information
charging Hemandez-Reynoso with conspiracy to distribute 50 grams or more of
methamphetamine, a Schedule II controlled substance, contrary to 21 U.S.C.
841(a)(1) and (b)(l)(A), inviolafion of 21 U.S.C. § B46. if Hernandez-Reynoso
                                                                                  §
enters a guilty plea and is sentenced on this charge, and otherwise hilly
complies with all of the terms of this agreement, this Office will not initiate any
further criminal charges against Hernandez-Reynoso for conspiracy to
distribute and possess with intent to distribute methamphetamine on or about
November 20, 2019. However, in the event that a guilty plea in this matter is
not entered for any reason or the judgment of conviction entered as a result of
this guilty plea does not remain in full force and effect, Hernandez-Reynoso
agrees that any dismissed charges and any other charges that are not time-
barred by the applicable statute of limitations on the date this agreement is
signed by Hernandez-Reynoso may be commenced against him,
notwithstanding the expiration of the limitations period after Hernandez
Reynoso signs the agreement.
Case 2:21-cr-00478-KSH Document 90 Filed 06/15/21 Page 2 of 11 PageID: 90




 Sentencing

             The violation of 21 U.S.C. § 846 to which Hemandez-Reynoso
agrees to plead guilty carries a statutory maximum prison sentence of life in
prison, a stabitoiy mandatory minimum prison sentence of ten years in prison,
and a statutory maximum fine equal to the greatest of: (1) $10,000,000 or
(2) twice the gross profits or other proceeds to Hemandez-Reynoso. Fines
imposed by the sentencing judge may be subject to the payment of interest.

             The sentence to be imposed upon Hemandez-Reynoso is within the
sole discretion of the sentencing judge, subject to the provisions of the
Sentencing Reform Act, 18 U.S.C. § 35513742, and the sentencing judge’s
consideration of the United States Sentencing Guidelines. The United States
Sentencing Guidelines are advisory, not mandatory. The sentencing judge may
impose any reasonable sentence up to and including the statutory maximum
term of imprisonment and the maximum statutory fine. This Office cannot and
does not make any representation or promise as to what guideline range may
be found by the sentencing judge, or as to what sentence Hemandez-Reynoso
ultimately will receive.

             Further, in addition to imposing any other penalty on Hemandez
Reynoso, the sentencing judge: (1) will order Hemandez-Reynoso to pay an
assessment of $100 pursuant to 18 U.S.C. § 3013, which assessment must be
paid by the date of sentencing; (2) may order Hemandez-Reynoso to pay
restitution pursuant to 18 U.S.C. § 3663 et seq.; (3) may deny Hemandez
Reynoso certain statutorily defined benefits, pursuant to 21 U.S.C. § 862 and
862a; and (4) pursuant to 21 U.S.C. § 841, must require Hemandez-Reynoso to
serve a term of supervised release of at least 5 years, which will begin at the
expiration of any term of imprisonment imposed. Should Hemandez-Reynoso
be placed on a term of supervised release and subsequently violate any of the
conditions of supervised release before the expiration of its term, Hemandez
Reynoso may be sentenced to not more than 5 years’ imprisonment in addition
to any prison term previously imposed, regardless of the statutory maximum
term of imprisonment set forth above and without credit for time previously
sewed on post-release supervision, and may be sentenced to an additional
term of supervised release.

              Additionally, if at the time of sentencing the United States is
satisfied that the five enumerated characteristics set forth in 18 U.S.C.
§ 3553(f)(1)-(5) apply to Hemandez-Reynoso and his commission of the charged
offense, the United States will make such a representation to the sentencing
court and will recommend that the sentencing court impose a sentence

                                     -2-
Case 2:21-cr-00478-KSH Document 90 Filed 06/15/21 Page 3 of 11 PageID: 91




pursuant to the applicable Sentencing Guidelines without regard to any
stathtrny minimum sentence.

 Rights of This Office Regarding Sentencing

              Except as otherwise provided in this agreement, this Office
reserves its right to take any position with respect to the appropriate sentence
to be imposed on Hemandez-Reynoso by the sentencing judge, to correct any
misstatements relating to the sentencing proceedings, and to provide the
sentencing judge and the United States Probation Office all law and
information relevant to sentencing, favorable or otherwise. In addition, this
Office may inform the sentencing judge and the United States Probation Office
of: (1) this agreement; and (2) the hill nature and extent of Hemandez
Reynoso’s activities and relevant conduct with respect to this case.

Stipulations

             This Office and Hemandez-Reynoso agree to stipulate at
sentencing to the statements set forth in the attached Schedule A, which
hereby is made a part of this plea agreement. This agreement to stipulate,
however, cannot and does not bind the sentencing judge, who may make
independent factual findings and may reject any or all of the stipulations
entered into by the parties. To the extent that the parties do not stipulate to a
particular fact or legal conclusion, each reserves the right to argue the
existence of and the effect of any such fact or conclusion upon the sentence.
Moreover, this agreement to stipulate on the part of this Office is based on the
information and evidence that this Office possesses as of the date of this
agreement. Thus, if this Office obtains or receives additional evidence or
information prior to sentencing that it determines to be credible and to be
materially in conflict with any stipulation in the attached Schedule A, this
Office shall not be bound by any such stipulation. A determination that any
stipulation is not binding shall not release either this Office or Hemandez
Reynoso from any other portion of this agreement, including any other
stipulation. if the sentencing court rejects a stipulation, both parties reserve
the right to argue on appeal or at post-sentencing proceedings that the
sentencing court was within its discretion and authority to do so. These
stipulations do not restrict this Office’s right to respond to questions from the
Court and to correct misinformation that has been provided to the Court.

Waiver of Appeal and Post-Sentencing Rights

            As set forth in Schedule A, this Office and Hemandez-Reynoso
waive certain rights to ifie an appeal, collateral attack, writ, or motion after

                                        -3-
Case 2:21-cr-00478-KSH Document 90 Filed 06/15/21 Page 4 of 11 PageID: 92




 sentencing, including but not limited to an appeal under 18 U.S.C. § 3742 or a
 motion under 28 U.S.C. § 2255.

 Forfeiture

              Hemandez-Reynoso agrees that as part of his acceptance of
 responsibility and pursuant to 21 U.S.C. § 853, Hernandez-Reynoso will forfeit
 to the United States any and all property constituting or derived from any
 proceeds obtained directly or indirectly as a result of the offense charged in the
 Information and any and all property used or intended to be used in any
 manner or part to commit and to facilitate the commission of such offense.

            Hemandez-Reynoso further consents to the entry of a forfeiture
judgment in the amount representing the proceeds he obtained as a result of
committing the offense charged in the Information and the property used or
intended to be used in any manner or part to commit and to facilitate the
commission of such offense, pursuant to 21 U.S.C. § 853 (the “Forfeiture
Judgment”). Payment of the Forfeiture Judgment shall be made by certified or
bank check payable to the United States Marshals Service with the criminal
docket number noted on the face of the check. Hernandez-Reynoso shall cause
said check to be delivered to the Asset Forfeiture and Money Laundering Unit,
United States Attorney’s Office, District of New Jersey, 970 Broad Street,
Newark, New Jersey 07102.

              Hernandez-Reynoso waives the requirements of Rules 32.2 and
43(a) of the Federal Rules of Criminal Procedure regarding notice of the
forfeiture in the charging instrument, announcement of the forfeiture at
sentencing, and incorporation of the forfeiture in the judgment. Pursuant to
Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, Hernandez-Reynoso
consents to the entry of a Consent Judgment of Forfeiture that will be final as
to Hernandez-Reynoso prior to Hernandez-Reynoso’s sentencing. Hernandez
Reynoso understands that criminal forfeiture pursuant to 21 U.S.C. § 853 is
part of the sentence that may be imposed in this case and waives any failure by
the court to advise him of this pursuant to Rule 11 (b)(1)(J) of the Federal Rules
of Criminal Procedure at the guilty plea proceeding. It is further understood
that any forfeiture of Hemandez-Reynoso’s assets shall not be treated as
satisfaction of any fine, restitution, cost of imprisonment, or any other penalty
the Court may impose upon her in addition to forfeiture. Hemandez-Reynoso
hereby waives any and all claims that this forfeiture constitutes an excessive
fine and agrees that this forfeiture does not violate the Eighth Amendment.




                                       -4-
Case 2:21-cr-00478-KSH Document 90 Filed 06/15/21 Page 5 of 11 PageID: 93




Immigration Consequences

              Hernandez-Reynoso understands that, if he is not a citizen of the
United States, his guilty plea to the charged offense will likely result in his
being subject to immigration proceedings and removed from the United States
by maldng him deportable, excludable, or inadmissible, or ending his
naturalization. Hernandez-Reynoso understands that the immigration
consequences of this plea will be imposed in a separate proceeding before the
immigration authorities. Hernandez-Reynoso wants and agrees to plead guilty
to the charged offense regardless of any immigration consequences of this plea,
even if this plea will cause his removal from the United States. Hemandez
Reynoso understands that he is bound by his guilty plea regardless of any
immigration consequences of the plea. Accordingly, Hernandez-Reynoso
waives any and all challenges to his guilty plea and to his sentence based on
any immigration consequences, and agrees not to seek to withdraw his guilty
plea, or to file a direct appeal or any ldnd of collateral attack challenging his
guilty plea, conviction, or sentence, based on any limnigration consequences of
his guilty plea.

Other Provisions

             This agreement is limited to the United States Attorney’s Office for
the District of New Jersey and cannot bind other federal, state, or local
authorities. However, this Office will bring this agreement to the attention of
other prosecuting offices, if requested to do so.

            This agreement was reached without regard to any civil or
administrative matters that may be pending or commenced in the ftthire
against Hernandez-Reynoso. This agreement does not prohibit the United
States, any agency thereof (including the Internal Revenue Service and
Immigration and Customs Enforcement) or any third party from initiating or
prosecuting any civil or administrative proceeding against Hemandez-Reynoso.

              No provision of this agreement shall preclude Hemandez-Reynoso
from pursuing in an appropriate fonmi, when permitted by law, an appeal,
collateral attack, writ, or motion claiming that Hernandez-Reynoso received
constitutionally ineffective assistance of counsel.




                                       -5-
Case 2:21-cr-00478-KSH Document 90 Filed 06/15/21 Page 6 of 11 PageID: 94




 No Other Promises

            This agreement constitutes the plea agreement between
Hemandez-Reynoso and this Office and supersedes any previous agreements
between them. No adthffonal promises, agreements, or conditions have been
made or will be made unless set forth in writing and signed by the parties.


                                          Very truly yours,

                                          CRAIG CARPENITO
                                          United States AU




                                          By: GEO.               ‘LEY
                                          Assistant

APPROVED:




MEREDITH J. WilLIAMS
Chief, NarcoUcsfOCDETF




                                    -6-
Case 2:21-cr-00478-KSH Document 90 Filed 06/15/21 Page 7 of 11 PageID: 95




            1 have received this letter from my attorney, Julian Wilsey, Esq.
My attorney and I have discussed it and all of its provisions, including those
addressing the charge, sentencing, stipulations, waiver, forfeiture, and
immigration consequences. I understand this letter frilly. I hereby accept its
terms and conditions and acknowledge that it constitutes the plea agreement
between the parties. I understand that no additional promises, agreements, or
conditions have been made or will be made unless set forth in writing and
signed by the parties. I want to plead guilty pursuant to this plea agreement.

 AGREED AND ACCEPTED:



                                                 Date:   oc/o 3/aO!
Alexis l-lernandez-Reynoso
                                                                                  cLZJ   r
             I have discussed with my client this plea agreement and all of its
provisions, including those addressing the charge, sentencing, stipulations,
waiver, forfeiture, and immigration consequences. My client understands this
plea agreement fully and wants to plead guilty pursuant to it.



                                                 Date:
Jul5ll’sey, E5.




                                      -7-
Case 2:21-cr-00478-KSH Document 90 Filed 06/15/21 Page 8 of 11 PageID: 96




                Plea Agreement With Meids Hemandez-Revnoso

                                   Schedule A

             1. This Office and Hemandez-Reynoso recognize that the United
States Sentencing Guidelines are not binding upon the Court. This Office and
Hemandez-Reynoso nevertheless agree to the stipulations set forth herein, and
agree that the Court should sentence Hemandez-Reynoso within the
Guidelines range that results from the total Guidelines offense level set forth
below. This Office and Hemandez-Reynoso fiarther agree that neither party will
argue for the imposition of a sentence outside the Guidelines range that results
from the agreed total Guidelines offense level.

           2. The version of the United States Sentencing Guidelines effective
November 1, 2018 applies in this case. The applicable guideline is U.S.S.G.
§ 2D1.1.
             3. This offense carries a Base Offense Level of 32 because the
offense, including relevant conduct, involved more than 150 grams but less
than 500 grams of actual methamphetamine.           U.S.S.G. § 2D1.1(c)(4).

            4. No other specific offense characteristics apply.

               5. Pursuant to the change in law effected by Section 402(b) of the
First Step Act of 2018 (the “Act”), Hemandez-Rejmoso may be eligible for the
relief set forth in 18 U.S.C. § 3553(f) (the “Statutory Safety-Valve”). That is
because the Act, which became effective on December 21, 2018, broadens the
class of defendants who are eligible to receive relief under the Statutory-Safety
Valve.

             6. Within the meaning of 18 U.S.C. § 3553(0(2) and United States
Sentencing Guidelines (“U.S.S.G.”) § 5C1.2(a)(2), Hemandez-Reynoso did not
use violence or credible threats of violence or possess a firearm or other
dangerous weapon (or induce another participant to do so) in connection with
the offense.

             7. Within the meaning of 18 U.S.C. § 3553(fl(3) and U.S.S.G.
§ SC1.2(a)(3), the offense did not result in death or serious bodily injuayto any
person.

             8. Within the meaning of 18 U.S.C. § 3553(f)(4) and U.S.S.G.
§ 5C1.2(a)(4), Hemandez-Reynoso was not an organizer, leader, manager, or
supervisor of others in the offense, as determined under the Sentencing
Guidelines and was not engaged in a continuing criminal enterprise, as defined
in 21 U.S.C. § 848.
                                       -8-
Case 2:21-cr-00478-KSH Document 90 Filed 06/15/21 Page 9 of 11 PageID: 97




            9. Whether Hemandez-Reynoso meets the criterion set forth in
U.S.S.G. §  5C1.2(a)(1) and (a)(5) has not yet been determined, if applicable,
whether Hemandez-Reynoso meets the criterion set forth in 18 U.s.c. §
3553(q(1), as amended by the Act has not yet been determined.

              10. if the court finds that Hemandez-Reynoso meets the criteria
set forth in 18 U.S.C. § 3553(fl(1)-(5), the Court may impose a sentence without
regard to any statutory mandatory-minimum sentence that might otherwise be
applicable to any controlled substance offense(s) charged in this case. If the
Court determines that Hemandez-Reynoso does not meet the criteria set forth
in 18 U.S.C. § 3553(ffll)-(5), the Court must impose a sentence subject to any
applicable statutory mandatory-minimum sentence.

             11. The United States Sentencing Commission has not yet
amended the corresponding provision of the United States Sentencing
Guidelines —  U.S.S.G. § 5C1.2  —   to conform that provision to the Statutory
Safety-Valve, if Hemandez-Reynoso has more than 1 criminal history point, as
determined under the Guidelines before the application of subsection (b) of §
4A1.3, he would not satisfy U.S.S.G. § 5C1.2(a)(1) and would not qualify for the
two level reduction in offense level specified in U.S.S.G. § 2D1.1(bfll8).

             12. As of the date of this letter, it is expected that Hemandez
Reynoso will enter a plea of guilty prior to the commencement of thai, will
tmthfiilly admit his involvement in the offense and related conduct, and will
not engage in conduct that is inconsistent with such acceptance of
responsibility, if all of these events occur, and Hemandez-Reynoso’s
acceptance of responsibility continues through the date of sentencing, a
downward adjustment of 2 levels for acceptance of responsibility will be
appropriate. See U.S.S.G. § 3E1.1(a) and Application Note 3.

              13. As of the date of this letter, it is expected that Hemandez
Reynoso will assist authorities in the investigation or prosecution of his own
misconduct by timely notifying authorities of his intention to enter a plea of
guilty, thereby permitting this Office to avoid preparing for thai and permitting
this Office and the court to allocate their resources efficiently. At sentencing,
this Office will move for a frirther 1-level reduction in Hemandez-Reynoso’s
offense level pursuant to U.S.S.G. § 3E1.1(b) if the following conditions are
met: (a) Hemandez-Reynoso enters a plea pursuant to this agreement, (b) this
Office in its discretion determines that Hemandez-Reynoso’s acceptance of
responsibility has continued through the date of sentencing and Hemandez
Reynoso therefore qualifies for a 2-level reduction for acceptance of
responsibility pursuant to U.S.S.G. § 3E1 .1(a), and (c) Hemandez-Reynoso’s
offense level under the Guidelines prior to the operation of § 3E1.1(a) is 16 or
greater.

                                       -9-
Case 2:21-cr-00478-KSH Document 90 Filed 06/15/21 Page 10 of 11 PageID: 98




              14. If, at the time of sentencing, the Court determines that
 Hernandez-Reyxioso meets the criteria set forth in the safety valve provisions in
 18 U.s.c § 3553((1)—(5) and U.S.S.G § 5C1.2(a)(2)—(5), this Office will move for
 a two-level downward variance pursuant to 18 U.S.C. § 3553(a). Doing so
 would give Hemandez-Reynoso the benefit now of any later conforming
 amendment to U.S.S.G. § 5C1.2. If this Office so moves, Hemandez-Reynoso
 shall not seek a reduced sentence pursuant to 18 U.S.C. § 3582(c) in the event
 that after Hemandez-Reynoso is sentenced in this case, the Sentencing
 Commission amends U.S.S.G. § 5C1.2(a)(1) to conform it to the cunent version
 of 18 U.S.C. § 3553(Ifll) and makes that amendment retroactive.

              15. In accordance with the above, the parties agree that:

              (a) if the Court finds, pursuant to U.S.S.G. § 5C1.2, that
 Hernandez-Reynoso meets the criteria currently in U.S.S.G § 5C1.2(a)(1)—(5),
 Hernandez-Reynoso will be entitled to a 2-level reduction in Ms offense level
 pursuant to U.S.S.G. § 2D1.l(b)(18), with the result that the total Guidelines
 offense level applicable to Hernandez-Reynoso will be 27;

              (b) if the Court finds pursuant to the Act that Hemandez-Reynoso
 meets the criteria set forth in 18 U.S.C. § 3553(f)(1)-(5) and U.S.S.G §
 5C1.2(a)(2)-(5), then a two-level variance is appropriate, with the result that the
 total Guidelines offense level applicable to Hernandez-Reynoso will be 27; and

               (c) otherwise, the total Guidelines offense level applicable to
 Hernandez-Reynoso will be 29 (collectively, the “agreed total Guidelines offense
 level”), subject to any applicable statutory mandatory minimum.

              16. The parties agree not to seek or argue for any upward or
 downward departure, adjustment or variance not set forth herein. The parties
 further agree that a sentence within the Guidelines range that results from the
 agreed total Guidelines offense level is reasonable.

                17. Hernandez-Reynoso knows that he has and, except as noted
 below in this paragraph, voluntarily waives, the right to ifie any appeal, any
 collateral attack, or any other writ or motion, including but not limited to an
 appeal under 18 U.S.C. § 3742, a motion under 28 U.S.C. § 2255, or a motion
 under 18 U.S.C. § 3582(c) or 18 U.S.C. § 3583(e), which challenges or seeks to
 modify the sentence imposed by the sentencing court if that sentence falls
 within or below the Guidelines range that results from a total Guidelines
 offense level of 2, subject to any applicable mandatory minimum. This Office
 will not file any appeal, motion or writ which challenges the sentence imposed
 by the sentencing court if that sentence falls within or above the Guidelines
 range that results from a total Guidelines offense level of 27. The Government
 reserves the right to appeal any sentence below any applicable mandatory
                                       -  10-
Case 2:21-cr-00478-KSH Document 90 Filed 06/15/21 Page 11 of 11 PageID: 99




minimum. The parties reserve any right they may have under 18 U.S.C. §
3742 to appeal the sentencing court’s determination of the criminal history
category. The provisions of tins paragraph are binding on the parties even if
the Court employs a Guidelines analysis different from that stipulated to
herein. Furthermore, if the sentencing court accepts a stipulation, both parties
waive the right to file an appeal, collateral attack, writ, or motion claiming that
the sentencing court erred in doing so. But nothing in this plea agreement
shall preclude Hemandez-Reynoso from pursuing, in an appropriate forum and
when permitted by law, a collateral attack claiming that Ms guilty plea or
sentence resulted from constitutionally ineffective assistance of counsel.

            18. Both parties reserve the right to oppose or move to dismiss
any appeal, collateral attack, writ, or motion barred by the preceding
paragraph and to file or to oppose any appeal, collateral attack, writ or motion
not barred by the preceding paragraph.




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